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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 BENJAMIN V. MÁRQUEZ by his                        )
 Guardian ROSANNA A. MÁRQUEZ,                      )
                                                   )
                        Plaintiff,                 )
                                                        No. 21 C 643
                                                   )
                       v.                          )
                                                        Judge Rowland
                                                   )
 UNITED STATES OF AMERICA,                         )
                                                   )
                        Defendant.                 )

            DEFENDANT’S UNOPPOSED MOTION TO EXTEND DEADLINES

       Defendant United States of America, by its attorney, John R. Lausch, Jr., moves with no

opposition from the plaintiff Benjamin V. Márquez by his guardian Rosanna A. Márquez, to extend

the deadline for the response to the complaint and reset the deadline for the joint initial status

report. In support, the United States provides the following:

       1.      Plaintiff Benjamin V. Márquez by his guardian Rosanna A. Márquez filed this

action on February 3, 2021, alleging medical negligence in connection with treatment received at

the Jesse Brown VA hospital and asserting a cause of action under the Federal Tort Claims Act,

28 U.S.C. §§ 1346(b)(1) and 2674. As measured by the service of the complaint on the U.S.

Attorney’s office on February 12, 2021, the response to the complaint is due on April 13, 2021.

Fed. R. Civ. P. 12(a)(2).

       2.      On February 17, 2021, the court ordered the parties to file a joint initial status report

by April 19, 2021.

       3.      The undersigned Assistant United States Attorney recently was assigned to

represent the United States in this matter and needs additional time to become familiar with the

case, in order to prepare the response to the complaint and engage with plaintiff’s counsel
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regarding preparation of a joint initial status report. Accordingly, the defendant requests that the

court extend the deadline to respond to the complaint by two weeks, until April 27, 2021, and reset

the deadline for the joint initial status report to a date after the April 27th response deadline.

       4.      The undersigned conferred with plaintiff’s counsel, Steven Rosenberg, regarding

the relief sought in this motion and confirmed that plaintiff has no objection to the extension of

dates requested.

       5.      This is the first request for an extension of these deadlines, and the extension is

necessary for the defendant to prepare its response to the complaint.

       WHEREFORE, defendant, with no opposition from the plaintiff, requests that the deadline

for the response to the complaint be extended to April 27, 2021, and the joint initial status report

deadline now set for April 19, 2021, be extended until sometime after April 27, 2021.

                                               Respectfully submitted,

                                               JOHN R. LAUSCH, Jr.
                                               United States Attorney

                                               By: s/ Sarah J. North
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